                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )      NO. 3:14-00090
                                                 )      JUDGE CAMPBELL
JAMAL COOPER, et al.                             )


                                          ORDER

       Pending before the Court are the following motions: Defendant Jamal Cooper’s Motion

For Production Of Government’s Witness List (Docket No. 1186), and Motion Requesting Early

Production Of Jencks Material (Docket No. 1187); Defendant Karon Key Jordan’s Motion For

Notice And Request For Disclosure Of 404(b) Evidence (Docket No. 1193), Motion To Suppress

Evidence Obtained Pursuant To Unlawful Wiretaps And To Adopt The Motions And

Memorandum Filed By Co-Defendants Jasmond Foster (Docket No. 433) And Co-Defendant

Jamal Cooper (Docket Nos. 464, 465) (Docket No. 1194), Motion For Early Disclosure Of

Jencks Act Material (Docket No. 1195), Motion For Disclosure Of Preferential Agreements And

Motion For Unsealing Of Sealed Plea Agreements, Preferential Or Otherwise (Docket No.

1196), and Motion For Disclosure Of Impeaching Information (Docket No. 1197); and

Defendant Finnell’s Motion To Adopt Co-Defendant Cooper’s Motion For Production Of

Government’s Witness List And Motion Requesting Early Production Of Jencks Material

(Docket No. 1191).

       The requests to adopt by Defendant Finnell and Defendant Jordan (Docket Nos. 1191 and

1194) are GRANTED.

       In the Motion For Production Of Government’s Witness List (Docket No. 1186), filed by




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Defendant Cooper and joined by Defendant Finnells, the Defendants request a full and complete

list of witnesses who will testify at trial and the witnesses’ addresses 60 days prior to trial. In its

Response (Docket No. 1208), the Government indicates that, given the nature of the crimes

charged in the case, disclosing its witness list in advance of trial could likely result in danger to

the potential witnesses. The Government represents that it will provide the Defendants with

notice each night during the trial of the witnesses it intends to call the next day. In his Reply

(Docket No. 1212), Defendant Cooper indicates that the Government’s suggestion will result in

trial delay, and points out that, in another lengthy trial in this District, the Government provided,

at the end of each week, a list of witnesses expected to testify the following week, in the order in

which they would be called.

        The Sixth Circuit has held that, in a non-capital case, the Government is not ordinarily

obliged to reveal a list of its witnesses and exhibits in advance of trial. See United States v.

McCullah, 745 F.2d 350, 353 (6th Cir.1984); United States v. Turner, 91 Fed. Appx. 489, 491,

2004 WL 540471 (6th Cir. Mar. 17, 2004). Given the expected length of the trial, however, the

Court concludes that the Defendant’s Motion should be GRANTED, in part, as follows: On a

weekly basis, the Government shall provide a list of witnesses expected to testify the following

week, in the order in which they will be called. Defendant Cooper indicates that he will do the

same for the witnesses he intends to call. The parties may file an appropriate motion requesting

the non-disclosure of witnesses for whom there are safety concerns or other reasons for non-

disclosure.

        Through the motions for early disclosure of Jencks material (Docket Nos. 1187 and

1195), filed by Defendants Cooper and Jordan, and joined by Defendant Finnells, the Defendants


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request that the Government provide them with Jencks material prior to trial. Through its

Response (Docket No. 1204), the Government indicates that it notified counsel for the

Defendants, on September 23, 2016, that Jencks material was available for them to pick up at the

Government’s Office. In light of the Government’s Response, the Defendants’ Motions are

DENIED, as moot.

       Through the Motion For Notice And Request For Disclosure Of 404(b) Evidence (Docket

No. 1193), Defendant Jordan requests that the Government provide notice of other crimes or bad

act evidence the Government intends to offer at trial. In its Response (Docket No. 1206), the

Government indicates that Rule 404(b) evidence is contained within the Jencks material it has

provided to the Defendants. In light of the Government’s Response, the Defendant’s Motion is

DENIED, as moot.

       In the Motion To Suppress Evidence Obtained Pursuant To Unlawful Wiretaps And To

Adopt The Motions And Memorandum Filed By Co-Defendants Jasmond Foster (Docket No.

433) And Co-Defendant Jamal Cooper (Docket Nos. 464, 465) (Docket No. 1194), Defendant

Jordan requests that the Court suppress evidence seized as a result of certain Title III wiretaps

identified in the Motion.

       Through Memorandum and Order (Docket No. 524) issued on January 16, 2015, the

Court considered and denied motions by various co-defendants raising the same challenges

raised by Defendant Jordan. Defendant Jordan’s Motion (Docket No. 1194) is DENIED for the

reasons set forth in that Memorandum and Order (Docket No. 524).

       Through the Motion For Disclosure Of Preferential Agreements And Motion For

Unsealing Of Sealed Plea Agreements, Preferential Or Otherwise (Docket No. 1196), Defendant


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Jordan requests that the Court order the unsealing of the plea agreements of Co-Defendants

D’Ron Robinson, William Earl Foster, Clifford Woods, Eric Williams, Jerry Ray Cochran, and

Wallace E. Coffey. In its Response (Docket No. 1207), the Government indicates that, with the

exception of the plea agreements of Defendants Cochran and Coffey, who are not expected to

testify in the Government’s case in chief, the requested plea agreements have been unsealed by

the Court and are contained within the Jencks material it has provided to the Defendants. In light

of the Government’s Response, the Defendant’s Motion is DENIED, as moot.

       Through the Motion For Disclosure Of Impeaching Information (Docket No. 1197),

Defendant Jordan requests several categories of information he contends the Government must

provide pursuant to Rule 16(a)(1) of the Federal Rules of Criminal Procedure, and Brady v.

Maryland, 373 U.S. 83 (1963). In its Response (Docket No. 1205), the Government indicates

that it has notified counsel that the requested material, to the extent it exists, is contained within

the Jencks material it has provided to the Defendants. In light of the Government’s Response, the

Defendant’s Motion is DENIED, as moot.

       Finally, Defendant Cooper has filed a Motion To Compel - Reply To Government

Response To Motion For Exculpatory Evidence (Docket No. 1188). Through the Motion, the

Defendant renews his prior Motions (Docket Nos. 1073, 1081) seeking information described in

a list spanning 10 pages. The Government has not responded to the pending Motion.

       As stated in the prior Order (Docket No. 1161) denying Defendant’s Motions, the Court

is unable to determine the issues, and specific items of discovery, that remain in dispute between

the parties. Accordingly, counsel for the Government and counsel for Defendant Cooper shall

confer in an effort to resolve by agreement the subject matter of the Defendant’s motions. See


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LCrR12.01. To the extent there are matters that remain unresolved, the parties shall file briefs

with the Court specifying with particularity the items or issues that remain in dispute.

       It is so ORDERED.
                                                      ____________________________________
                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




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